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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO.: 1:19-MC-22200-FAM

APPLICATION OF
SALVATORE ROCCO NISI,

Applicant.
/

ORDER GRANTING SUPPLEMENTAL APPLICATION
FOR DISCOVERY ASSISTANCE

THIS MATTER came before the Court pursuant to an Application for Discovery
Assistance with Respect to Foreign Legal Proceedings (the "Application") by Salvatore Rocco
Nisi (“Mr. Nisi” or “Applicant”) from Wells Fargo Bank, N.A. (“Wells Fargo”), pursuant to 28
U.S.C. § 1782.

Upon review of the application, Applicant’s incorporated memorandum, and the legal
authorities associated with 28 U.S.C. § 1782, and being apprised of all pertinent matters, it is
hereby ORDERED and ADJUDGED that:

The Applicant’s Application is GRANTED.

Wells Fargo shall within 21 days of the service of this order produce the following
documents (or materials) to the Applicant:

1, All information related to the opening of the account number 8552785910 held at
Wells Fargo (the “Account’), including, but not limited to, names of authorized signatories for
the account and addresses or other contact information associated with the Wells Fargo Account.

2. Any and all documents associated with the transaction on April 3, 2017 in the
amount of $3,000 with American Identity Guaranty (“AIG”).

3, Front and back copies of the endorsed check in the amount of $40,000 deposited

or cashed on April 7, 2017 in the Account.

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4, Any and all documents associated with the transaction in April 10, 2017 in the

amount of $3,000 with AIG.

5. Any and all documents associated with the transaction in April 10, 2017 in the
amount of $6,000 with AIG.
6. Front and back copies of the endorsed check in the amount of $6,000 deposited or

cashed on April 13, 2017 in the Account.
7. Any and all documents related to the cash withdraw of $1,100 on April 24, 2017

at the Wells Fargo branch located at 7009 Beracasa Way, Boca Raton, Florida 33096.

8. Any and all documents related to the transaction on April 24, 2017 in the amount
of $99,878.
9. Front and back copies of the endorsed check in the amount of $15,500 deposited

or cashed on April 28, 2017 in the Account.

10. Front and back copies of the endorsed check in the amount of $8,000 deposited or
cashed on May 2, 2017 in the Account.

11. Any and all documents related to the $25,000 transaction with the Bank of China
on May 2, 2017.

12. Any and all documents associated with the transaction in May 2, 2017 in the
amount of $9,000 with AIG.

13. Front and back copies of the endorsed check in the amount of $10,000 deposited
or cashed on May 4, 2017 in the Account. "

14. Front and back copies of the endorsed check in the amount of $80,000 deposited

or cashed on May 10, 2017 in the Account.

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15. Front and back copies of the endorsed check in the amount of $30,000 deposited
or cashed on May 17, 2017 in the Account.

16. Any and all documents and video recordings of the deposit of $75,000 made in a
Wells Fargo branch/store on May 22, 2017.

17, Front and back copies of the endorsed check in the amount of $5,000 deposited or
cashed on May 26, 2017 in the Account.

18. Any and all documents associated with the transaction in May 2, 2017 in the
amount of $5,000 with AIG.

19. Any and all documents related to the $20,000 transaction on May 31, 2017 with
National Advisors Corporation (“NA C’).

20. Any and all documents related to the $394,902.77 transaction on June 2, 2017
with NAC.

21. Any and all documents related to the $571,431.42 transaction on June 2, 2017

with NAC.

 

22. Any and all documents related to the $36,346.32 transaction on June 2, 2017 with
NAC,

23. Any and all documents related to the $10,000 transaction with the Bank of China
on June 2, 2017.

24, Any and all documents related to the $831,260.47 transaction on June 5, 2017
with NAC.

25. Any and all documents related to the $831,260.47 transaction on June 6, 2017

with NAC.

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26. Any and all documents related to the $205,516.60 transaction on June 7, 2017
with NAC.

27, Front and back copies of the endorsed check #1002 in the amount of $5,000
deposited or cashed on June 9, 2017 in the Account.

28. Any and all documents related to the $998,805.66 transaction on June 9, 2017
with NAC.

29. Front and back copies of the endorsed check #1003 in the amount of $397,676.30
deposited or cashed on June 9, 2017 in the Account.

30. Front and back copies of the endorsed check #1001 in the amount of $5,000
deposited or cashed on June 9, 2017 in the Account.

31. Any and all documents related to the $998,756.33 transaction on June 12, 2017

with NAC.

 

32. Any and all documents related to the $859,710.96 transaction on June 13, 2017
with NAC.

33. Front and back copies of the endorsed check #1006 in the amount of $998.00
deposited or cashed on June 13, 2017 in the Account.

34. Front and back copies of the endorsed check # 1005 in the amount of $558,000
deposited or cashed on June 13, 2017 in the Account.

35. Any and all documents regarding the transaction of $205,516.60 on June 14,
2017. If there is a reason why the wire to NAC was rejected, please include such information.

36. Any and all documents related to the $398,854.35 transaction on June 14, 2017

with NAC.

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37. Front and back copies of the endorsed check #1008 in the amount of $770,000
deposited or cashed on June 14, 2017 in the Account.

38. Front and back copies of the endorsed check #1007 in the amount of $997,002
deposited or cashed on June 14, 2017 in the Account.

39, Any and all documents related to the $205,516.60 transaction on June 21, 2017
with NAC.

40. Front and back copies of the endorsed check #1009 in the amount of $150,000
deposited or cashed on June 21, 2017 in the Account.

41. Front and back copies of the endorsed check #1010 in the amount of $150,000
deposited or cashed on June 21, 2017 in the Account.

42. Any and all documents related to the $10,000 transaction with the Bank of China
on June 27, 2017.

43. Any and all documents related to the transaction of $35,000 on June 27, 2017.

44. Any and all documents and video recordings of the $40,216.10 transaction on July
27, 2017.

45. Any and all communications from Wells Fargo transmitting the Account
statements requested in Document Request No. 1-47,

46. Any and all other account records related to the Account, including documents
related to account closing.

47. Any and all documents indicating and/or reflecting account numbers for accounts

held at Wells Fargo by RBC Financial Group, Weddin Group Ltd., and NAC.

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The Court shall retain jurisdiction over this matter for my purpose of enforcing this order

and assessing any supplemental requests for discovery assistance that may be requested by

Applicant. ft
DONE AND ORDERED in Chambers, Miami, Florida, this 0. day of bob

» 2019, 4

 

FEDERKCO A. M
UNITED STATES DISTRICT JUDGE

Copies to: All counsel of record

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